                               Case 20-21557-RAM                      Doc 23          Filed 12/24/20              Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Southern District of Florida
In re:                                                                                                                 Case No. 20-21557-RAM
Katayama Wallace Mabray                                                                                                Chapter 7
       Debtor(s)
                                                     CERTIFICATE OF NOTICE
District/off: 113C-1                                                  User: valenciay                                                             Page 1 of 2
Date Rcvd: Dec 22, 2020                                               Form ID: pdf004                                                           Total Noticed: 14
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 24, 2020:
Recip ID                 Recipient Name and Address
db                     + Katayama Wallace Mabray, 11697 SW 153 Ct, Miami, FL 33196-5242
95924546               + CONTINENTAL FIN CO., 4550 NEW LINDEN HILL ROAD, WILMINGTON, DE 19808-2930
95924548               + FIRST PREMIER BANK, 3820 N. LOUISE AVE, SIOUX FALLS, SD 57107-0145
95924549               + IC SYSTEMS COLLECTIONS, PO BOX 64378, SAINT PAUL, MN 55164-0378
95924556               + PLATINUM FINANCIAL SERVICECS CORP, C/O ASSG FORWARD PROPERTIES INC., PO BOX 10247, ROCKVILLE, MD
                         20849-0247
95924553                 SUNPASS, MILE POST 19 FLORIDA TURNPIKE, TURNPIKE, MIAMI FL 33186
95924555               + THE HOME DEPOT/CBNA, 5800 SOUTH CORPORATE PLACE, SIOUX FALLS, SD 57108-5027

TOTAL: 7

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
cr                     + Email/PDF: gecsedi@recoverycorp.com
                                                                                        Dec 23 2020 02:30:35      Synchrony Bank, PRA Receivables Management,
                                                                                                                  LLC, PO Box 41021, Norfolk, VA 23541-1021
95924545               + Email/PDF: AIS.cocard.ebn@americaninfosource.com
                                                                                        Dec 23 2020 02:51:17      CAPITAL ONE BANK USA NA, PO BOX
                                                                                                                  30281, SALT LAKE CITY, UT 84130-0281
95924547               + Email/PDF: creditonebknotifications@resurgent.com
                                                                                        Dec 23 2020 02:42:13      CREDIT ONE BANK, PO BOX 98872, LAS
                                                                                                                  VEGAS, NV 89193-8872
95924550               + Email/PDF: resurgentbknotifications@resurgent.com
                                                                                        Dec 23 2020 02:31:16      LVNV FUNDING, LLC, C/O RESURGENT
                                                                                                                  CAPITAL SERVICES, PO BOX 1269,
                                                                                                                  GREENVILLE, SC 29602-1269
95924551               + Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                                        Dec 23 2020 02:41:44      MERRICK BANK, PO BANK 9201, OLD
                                                                                                                  BETHPAGE, NY 11804-9001
95924552               + Email/Text: GoMDX@mdxway.com
                                                                                        Dec 23 2020 01:14:00      MIAMI-DADE EXPRESSWAY AUTHORITY,
                                                                                                                  3790 NW 21 ST STREET, MIAMI, FL
                                                                                                                  33142-6812
95924557                   Email/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com
                                                                           Dec 23 2020 02:42:20                   PORTFOLIO RECOVERY, 120 CORPORATE
                                                                                                                  BLVD SUITE 100, NORFOLK, VA 23502

TOTAL: 7


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.
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District/off: 113C-1                                             User: valenciay                                                        Page 2 of 2
Date Rcvd: Dec 22, 2020                                          Form ID: pdf004                                                      Total Noticed: 14

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 24, 2020                                       Signature:           /s/Joseph Speetjens




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 22, 2020 at the address(es) listed
below:
Name                            Email Address
Office of the US Trustee
                                USTPRegion21.MM.ECF@usdoj.gov

Scott N Brown
                                sbrown@bastamron.com jarrechavala@bastamron.com;snbrown@ecf.axosfs.com;F003@ecfcbis.com


TOTAL: 2
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            ORDERED in the Southern District of Florida on December 18, 2020.




                                                                  Robert A. Mark, Judge
                                                                  United States Bankruptcy Court
_____________________________________________________________________________




                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
      __________________________________
                                       )
      In re:                            ) CASE NO. 20-21557-RAM
                                       )  CHAPTER 7
      KATAYAMA WALLACE MABRAY,         )
                                        )
                                       )
                      Debtor.          )
                                        )
                                       )


                              ORDER REINSTATING CHAPTER 7 CASE

       This matter came before the Court, without a hearing, upon the debtor’s motion for
       reinstatement of the above captioned case [ECF No. 18], which case had been dismissed
       by prior order of the Court.

       Upon consideration of the debtor’s/debtors’ motion and the presentation at the hearing, if
       applicable, the Court ORDERS as follows:

       A.      The above captioned case is reinstated effective upon entry of this order.

       B.      Pursuant to 11 U.S.C. §362(c)(2)(B), the automatic stay terminated on the date this
               case was dismissed and was not in effect from such date until the entry of this order.
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       The automatic stay under 11 U.S.C. §362 shall become effective as of the date of
       entry of this order.

C.     The Order Discharging Trustee, if entered, is vacated.


D.     If not previously filed, any and all documents required to be filed by the debtor(s)
       under 11 U.S.C. §521(a)(1), Bankruptcy Rule 1007, and Local Rule 1007-1 shall be
       filed no later than 14 days after entry of this order.

E.     If the debtor(s) fail(s) to timely comply with any requirements of this order, the above
       captioned case will be dismissed without further notice or hearing.

F.     Status of meeting of creditors under 11 U.S.C. §341 and related deadlines [select
       1 or 2]:

       [X] 1. Because this case was dismissed prior to the conclusion of the meeting of
             creditors under 11 U.S.C. §341, the previously scheduled meeting of
             creditors was canceled. In accordance with Local Rules 3002-1(B)(2),
             4004-2(B)(1) and 4007-1(B)(1), the Clerk will provide notice to all parties of
             record of the date of the rescheduled meeting of creditors and applicable
             deadlines for the filing of proof of claim, objections to discharge and
             objections to the dischargeability of particular debts.

          2. This case was dismissed after the meeting of creditors under 11 U.S.C.
             §341. Any applicable deadlines in accordance with Local Rules 3002-
             1(B)(2), 4004-2(A)(2)(a), 4004-2(B)(1) and 4007-1(B)(1) will be reset by
             separate order.

                                             ###

Copies to:
All parties of record by Clerk




                                              2
